
15 So.3d 929 (2009)
A.W., A Child, Appellant,
v.
STATE of Florida, Appellee.
No. 5D08-2920.
District Court of Appeal of Florida, Fifth District.
August 7, 2009.
James S. Purdy, Public Defender, and David S. Morgan, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Rebecca Rock McGuigan, Assistant Attorney General, Daytona Beach, for Appellee.
SAWAYA, J.
A.W., a juvenile adjudicated delinquent for possession of cocaine, contends that the trial court erred in denying his motion for dismissal at the conclusion of the evidence portion of the trial. As to that issue, we affirm without further discussion.
A.W. also contends that the trial court erred in imposing costs of prosecution pursuant to section 938.29, Florida Statutes (2009), in the amount of $150. We agree. It is clear that section 938.29 does not authorize the imposition of costs of prosecution in delinquency cases, and the State concedes that imposition of these costs is error.
Accordingly, the order of delinquency is affirmed. That part of the order assessing the costs of prosecution is reversed.
AFFIRMED in part; REVERSED in part.
MONACO, C.J. and COHEN, J., concur.
